874 F.2d 242
    UNITED STATES of America, Plaintiff-Appellee,v.Steven Warren KAUFMAN, a/k/a John Rayford, Leonard JosephKissell, James Gregory Smith, Perry Franks &amp; PaddyD. Franks, Defendants-Appellants.Paddy Daniel FRANKS, Petitioner-Appellant,v.Jack HARWELL, Sheriff, McLennan County, Texas, et al.,Respondents-Appellees.Perry FRANKS, Petitioner-Appellant,v.Jack HARWELL, Sheriff of McLennan County, Texas, et al.,Respondents-Appellees.
    Nos. 87-1462, 87-1621.
    United States Court of Appeals,Fifth Circuit.
    May 17, 1989.
    
      Ronald G. Guyer, San Antonio, Tex.  (court-appointed), for Steve W. kaufman.
      Martha Dickey, Austin, Tex.  (court-appointed), for James Gregory Smith.
      Michael E. Tigar, Austin, Tex.  (court-appointed), for Perry Franks &amp; Paddy D. Franks.
      Charles O. Grigson, Austin, Tex.  (court-appointed), for Kissell.
      James H. DeAtley, Asst. U.S. Atty., Austin, Tex., LeRoy Morgan Jahn, Asst. U.S. Atty., San Antonio, Tex., Louis M. Fischer, Appellate Sect., Crim. Div., Washington, D.C., Helen M. Eversberg, U.S. Atty., Austin, Tex., for plaintiff-appellee.
      Dick Thornburgh, U.S. Atty. Gen., Dept. of Justice, Washington, D.C., for other interested party.
      Appeals from the United States District Court for the Western District of Texas.ON PETITION FOR REHEARING AND SUGGESTION FOR REHEARING EN BANC
      Opinions Oct. 17, 1988 &amp; March 1, 1989, 858 F.2d 994 (5th Cir.1988);
      869 F.2d 1485 (5th Cir.1989)
      Before KING, JOHNSON and JOLLY, Circuit Judges.
      PER CURIAM:
    
    
      1
      The petition for rehearing is DENIED.  In response to the defendant's petition for rehearing, our opinion reported at 858 F.2d 994 (5th Cir.1988), has been submitted to the State Department for its review.  The State Department has indicated its approval of the denial to the Franks of the benefits of the rule of specialty contained in the treaty between the United States and Mexico since "only an offended nation can complain about the purported violation of an extradition treaty," and Mexico has made no protest whatever about the prosecution of the Franks brothers in Texas.
    
    
      2
      No member of this panel nor judge in regular active service on the court having requested that the court be polled on rehearing en banc, (Fed.R.App.P. and Local Rule 35), the Suggestion for Rehearing En Banc is DENIED.
    
    